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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA,           )
                                    )        Case No.
        Plaintiff,                  )
                                    )
        v.                          )
                                    )
TIMOTHY M. RAGEN,                   )
                                    )
        Defendant.                  )
____________________________________)

                                COMPLAINT

      Plaintiff, the United States of America, alleges as follows:

      1.    The United States brings this suit to collect unpaid federal

income taxes liability owed by Timothy M. Ragen for tax years 2004, 2006,

2007, 2010 through 2013.

                JURISDICTION, VENUE AND PARTIES

      2.     This action is authorized by the Chief Counsel of the Internal

Revenue Service, a delegate of the Secretary of the Treasury, and is brought

at the direction of a delegate of the Attorney General of the United States

under 26 U.S.C. § 7401.

      3.     This Court has jurisdiction to hear the action pursuant to 28

U.S.C. §§ 1331, 1340 and 1345, as well as 26 U.S.C. § 7402(a).



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      4.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(1)

and 1396 because the defendant, Timothy Ragen, lives in Savannah,

Chatham County, Georgia, within the jurisdiction of this Court.

                CLAIM TO REDUCE FEDERAL INCOME
                  TAX LIABILITIES TO JUDGMENT

                        The Ragens’ Joint Tax Years

      5.    For tax year 2004, Mr. Ragen filed a federal income tax return

jointly with his wife, Emily L. Ragen, reporting tax due in the amount of

$67,469.00, but failed to pay the tax that they reported due. On March 28,

2007, the Ragens filed Form 1040X – Amended U.S. Individual Income Tax

Return, reporting an additional $5,737.00 in tax owed for tax year 2004, and

again the Ragens failed to pay the tax they reported due.

      6.    For tax year 2006, the Ragens filed a federal income tax return,

reporting tax due in the amount of $119,559.00, but failed to pay the tax that

they reported due.

      7.    For tax year 2007, the Ragens filed a federal income tax return,

reporting tax due in the amount of $193,530.00, but failed to pay the tax that

they reported due.




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      8.     On the dates and in the amounts set forth in the following table,

a delegate of the Secretary of the Treasury properly assessed the Ragens

federal income tax liabilities, plus applicable penalties and interest:

                                     Amount Assessed                   Assessed
                                                                     Balance Due
 Tax    Date of                                        Penalties         as of
 Year Assessment            Tax          Interest      and Fees       10/13/2023
 2004  11/28/2005
                        $67,469.00     $2,579.00      $1,919.00`
                                                      $2,598.76^
             5/14/2007 $5,737.00
             11/2/2015                 $45,056.47     $15,077.74^
            10/31/2016                 $5,012.89                     $11,403.51
 2006                  $119,559.00     $5,030.76      $5,490.00`
            11/19/2007                                $4,144.93^
             11/2/2015                 $34,888.82     $17,739.78^
            10/31/2016                 $5,566.10                     $218,827.66
 2007       10/20/2008 $193,530.00     $5,326.24      $6,475.69`
                                                      $3,710.60^
            11/2/2015                  $55,667.42     $42,671.90^
           10/31/2016                  $10,880.19                    $427,056.52
^ Penalty for late payment of tax
` Penalty for not pre-paying tax

      9.     A delegate of the Secretary of the Treasury properly notified the

Ragens of the unpaid liabilities described in the preceding paragraph and

made demand for their payment pursuant to 26 U.S.C. § 6303. Despite notice

and demand for payment, the Ragens failed to pay the liabilities owed.

      10.    Although the Ragens filed joint federal income tax returns for tax

years 2004, 2006, and 2007, only Mr. Ragen remains liable for the unpaid

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assessments for reasons alleged below. Together with statutory additions,

penalties, and interest accrued through October 13, 2023, Mr. Ragen owes

the United States $657,287.69 for his unpaid federal income tax liabilities for

the years 2004, 2006, and 2007. Statutory additions including interest will

continue to accrue until the liabilities are paid in full.

                       Mr. Ragen’s Individual Tax Years

       11.   For tax year 2010, Mr. Ragen filed a federal income tax return as

married filing separate, reporting tax due in the amount of $177,866.00, but

failed to pay the tax that he reported due.

       12.   For tax year 2011, Mr. Ragen filed a federal income tax return as

married filing separate, reporting tax due in the amount of $55,235.00, but

failed to pay the tax that he reported due. The IRS examined Mr. Ragen’s

returned and assessed additional tax of $14,867.00, which Mr. Ragen failed to

pay.

       13.   For tax year 2012, Mr. Ragen filed a federal income tax return as

married filing separate, reporting tax due in the amount of $54,081.00, but

failed to pay the tax that he reported due.

       14.   For tax year 2013, Mr. Ragen filed a federal income tax return as

married filing separate, reporting tax due in the amount of $115,620.00, but

failed to pay the tax that he reported due.

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      15.   On the dates and in the amounts set forth in the following table,

a delegate of the Secretary of the Treasury properly assessed Mr. Ragen

federal income tax liabilities, plus applicable penalties and interest:

                                    Amount Assessed                     Assessed
                                                                      Balance Due
 Tax    Date of                                        Penalties          as of
 Year Assessment      Tax        Interest              and Fees        10/13/2023
 2010   11/21/2011 $177,866.00 $4,080.77              $3,815.00`
                                                      $7,114.64^
             11/2/2015                 $23,961.79     $37,011.86^
            10/31/2016                 $9,102.05                     $357,409.12
  2011      10/15/2012 $55,235.00      $381.55        $831.11`
                                                      $381.55 ^
                                                      $755.87^
              3/2/2015 $14,867.00      $1,555.98      $2,973.40†     $30,163.23
  2012      11/18/2013 $54,081.00      $817.48        $970.00`
                                                      $1,803.23^
              6/9/2014                 $544.89        $1,379.04^
             11/2/2015                 $1,226.88      $3,692.96^
            10/31/2016                 $1,218.35                     $47,923.14
  2013      11/24/2014 $115,620.00     $1,574.54      $1,177.00`
                                                      $3,429.80^
            10/31/2016               $5,264.49        $15,460.20^    $138,352.05
^ Penalty for late payment of tax
` Penalty for not pre-paying tax
† 26 U.S.C. § 6662 Accuracy Related Penalty

      16.   A delegate of the Secretary of the Treasury properly notified Mr.

Ragen of the unpaid liabilities described in the preceding paragraph and

made demand for their payment pursuant to 26 U.S.C. § 6303. Despite notice

and demand for payment, Mr. Ragen failed to pay the liabilities owed.


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Together with statutory additions, penalties, and interest accrued through

October 13, 2023, Mr. Ragen owes the United States $573,847.54 for his

unpaid federal income tax liabilities for tax years 2010 through 2013.

Statutory additions including interest will continue to accrue until the

liabilities are paid in full.

                                This Suit is Timely

        17.   The United States generally has ten years from the date of

assessment to file suit to collect assessed tax liabilities. 26 U.S.C. § 6502.

However, that period was extended because of several events that suspended,

and thus extended, the statute of limitations on collection as to Mr. Ragen

only.

        18.   First, Mr. Ragen filed for bankruptcy, but Mrs. Ragen was not a

co-debtor in his bankruptcy. When a taxpayer files for bankruptcy, the IRS is

prohibited from collecting from the taxpayer. And so, the time to file a suit to

collect is extended for time that the bankruptcy action is pending plus six

months thereafter. 26 U.S.C. § 6503(h).

        19.   Mr. Ragen’s bankruptcy was pending from July 25, 2008, to

December 15, 2011. In re Timothy M. Ragen, Case No.: 4:08-bk-41325 (Bankr.

S.D. Ga.). He did not receive a discharge. Because Mrs. Ragen was not a co-




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debtor in the bankruptcy, the collection statute as to Mr. Ragen only for tax

years 2004, 2006, and 2007 was extended by 1,390 days.

      20.    Second, Mr. Ragen filed two Forms 656 – Offer in Compromise

with the IRS. When a taxpayer files an offer in compromise, the IRS is

prohibited from levying against the taxpayer. And so, the collection statute is

suspended for the time the offer is pending, plus thirty days. 26 U.S.C.

§ 6331(k).

      21.    Mr. Ragen filed his first offer in compromise on November 19,

2012, and it was rejected on December 10, 2013. Mr. Ragen filed his second

offer in compromise on February 13 2013, and it was rejected on April 19,

2014. Therefore, Mr. Ragen’s offers in compromise suspended, and thereby

extended, the collection statute by 51 and 460 days, respectively for tax years

2004, 2006, 2007, and 2010.

      22.    Third, Mr. Ragen filed Form 9465 – Installment Agreement

Request with the IRS. When a taxpayer requests an installment agreement,

the IRS is prohibited from levying against the taxpayer. And so, the collection

statute is suspended for the time that installment agreement is pending plus

thirty days. 26 U.S.C. § 6502.

      23.    Mr. Ragen filed for an installment agreement request on August

31, 2021, and it was rejected on March 11, 2022. Therefore, the installment

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agreement request suspended, and thus extended the collection statute by,

223 days for all tax years at issue.

       24.    Accordingly, the United States claims for tax years 2004, 2006,

2007, 2010, and 2011 are timely, even though the assessments are more than

ten years old because of the tolling events alleged in paragraphs 17 through

23.1

       WHEREFORE, Plaintiff, the United States of America, prays that the

Court enter judgment in favor of the United States and against Timothy M.

Ragen in the amount of $1,231,135.23 as of October 13, 2023, for his unpaid

federal income taxes, penalties, and interest for tax years 2004, 2006, 2007,

and 2010 through 2013, plus statutory additions and interest allowed by law

thereafter until paid; and grant such other and further relief as it deems just

and proper.




1 This suit does not include the taxes, interest, and penalties assessed on
November 28, 2005 for tax year 2004, as that time has passed to timely bring
a suit for those assessments. The correlating penalties and interest for that
tax assessment, have been abated and are not included in this suit but are
listed on the chart in paragraph 8 for informational purposes.

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Dated: October 13, 2023           Respectfully submitted,


                                  DAVID A. HUBBERT
                                  Deputy Assistant Attorney General


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